     Case 4:20-cv-05146-YGR          Document 759       Filed 07/11/22     Page 1 of 5



 1   BLEICHMAR FONTI & AULD LLP                        DICELLO LEVITT GUTZLER LLC
     Lesley Weaver (Cal. Bar No. 191305)               David A. Straite (admitted pro hac vice)
 2   Angelica M. Ornelas (Cal. Bar No. 285929)         One Grand Central Place
     Joshua D. Samra (Cal. Bar No. 313050)             60 East 42nd Street, Suite 2400
 3   555 12th Street, Suite 1600                       New York, NY 10165
     Oakland, CA 94607                                 Tel.: (646) 933-1000
 4   Tel.: (415) 445-4003                              dstraite@dicellolevitt.com
     Fax: (415) 445-4020
 5   lweaver@bfalaw.com                                Amy Keller (admitted pro hac vice)
     aornelas@bfalaw.com                               Adam Prom (admitted pro hac vice)
 6   jsamra@bfalaw.com                                 Sharon Cruz (admitted pro hac vice)
                                                       Ten North Dearborn St., Sixth Floor
 7                                                     Chicago, IL 60602
     SIMMONS HANLY CONROY LLC                          Tel.: (31) 214-7900
 8   Jason ‘Jay’ Barnes (admitted pro hac vice)        akeller@dicellolevitt.com
     An Truong (admitted pro hac vice)                 aprom@dicellolevitt.com
 9   Eric Johnson (admitted pro hac vice)              scruz@dicellolevitt.com
     112 Madison Avenue, 7th Floor
10   New York, NY 10016
     Tel.: (212) 784-6400
11   Fax: (212) 213-5949
     jaybarnes@simmonsfirm.com
12   atruong@simmonsfirm.com
     ejohnson@simmonsfirm.com
13
     Counsel for Plaintiffs
14
                            IN THE UNITED STATES DISTRICT COURT
15                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION
16

17   PATRICK CALHOUN, et al., on behalf of           Case No. 4:20-cv-05146-YGR-SVK
     themselves and all others similarly situated,
18                                                   PLAINTIFFS’ ADMINISTRATIVE
            Plaintiffs,                              MOTION TO CONSIDER WHETHER
19                                                   ANOTHER PARTY’S MATERIAL SHOULD
            v.                                       BE SEALED
20
     GOOGLE LLC,                                     CIVIL L.R. 7-11 and 79-5(f)
21
            Defendant.                               Referral: Hon. Susan van Keulen, USMJ
22
                                                     No Hearing Date Set Pursuant to L.R. 7-11(c)
23

24

25

26

27

28
     Case 4:20-cv-05146-YGR            Document 759          Filed 07/11/22      Page 2 of 5



 1           Pursuant to Civil Local Rules 7-11 and 79-5(f) and the Stipulated Protective Order entered
 2   in this matter, Dkt. No. 61, Plaintiffs respectfully submit this Administrative Motion to Consider
 3   Whether Another Party’s Material Should be Sealed, to the extent such material is quoted,
 4   summarized, or otherwise reflected in the documents (or portions thereof) indicated below:
 5
                 Document                Portions Sought to be Sealed            Evidence Offered in
 6
                                                                                 Support of Sealing
 7         Plaintiffs’ Response to
                                                                               Defendant to provide
           Sealed Court Order
      1                            Entire Document                             evidence, per
 8         dated July 8, 2022
                                                                               Local Rule 79-5(f)
           (Dkt. No. 756)
 9         Declaration of Sharon
10         Cruz in Support of
                                                                               Defendant to provide
           Plaintiffs’ Response to
      2                            Entire Document                             evidence, per
11         Sealed Court Order
                                                                               Local Rule 79-5(f)
           dated July 8, 2022
12         (Dkt. No. 756)
           Exhibits A-B in
13         Support of Plaintiffs’
                                                                               Defendant to provide
14         Response to Sealed
      3                            Entire Document                             evidence, per
           Court Order dated
                                                                               Local Rule 79-5(f)
15         July 8, 2022 (Dkt. No.
           756)
16
             Paragraph 12.4 of the Stipulated Protective Order prohibits a party from filing materials
17
     designated “Confidential” or “Highly Confidential – Attorneys’ Eyes Only” in the public record.
18
     Portions of the documents listed above quote, summarize, or otherwise reflect information that
19
     Defendant Google LLC has designated “Confidential” or “Highly Confidential – Attorneys’ Eyes
20
     Only.” Pursuant to Civil Local Rules 79-5(c)(1) and (f)(3), Defendant, as the Designating Party,
21
     bears the responsibility to establish that all of the designated material is sealable.
22

23
      Dated: July 11, 2022                                  Respectfully submitted,
24

25
                                                            DICELLO LEVITT GUTZLER LLC
26    BLEICHMAR FONTI & AULD LLP
                                                            By:   /s/ David Straite
27    By: /s/ Lesley E. Weaver                              David A. Straite (admitted pro hac vice)
      Lesley Weaver (Cal. Bar No. 191305)
      Angelica M. Ornelas (Cal. Bar No. 285929)             One Grand Central Place
28

     PLS. ADMIN. MOT. TO CONSIDER                       1             CASE NO. 4:20-CV-05146-YGR-SVK
     Case 4:20-cv-05146-YGR        Document 759        Filed 07/11/22      Page 3 of 5


     Joshua D. Samra (Cal. Bar No. 313050)            60 East 42nd Street, Suite 2400
 1   555 12th Street, Suite 1600                      New York, NY 10165
     Oakland, CA 94607                                Tel.: (646) 933-1000
 2   Tel.: (415) 445-4003
     Fax: (415) 445-4020                              dstraite@dicellolevitt.com
 3   lweaver@bfalaw.com
     aornelas@bfalaw.com                              Amy E. Keller (admitted pro hac vice)
 4   jsamra@bfalaw.com                                Adam Prom (admitted pro hac vice)
                                                      Sharon Cruz (admitted pro hac vice)
 5   SIMMONS HANLY CONROY LLC                         Ten North Dearborn Street, 6th Fl.
                                                      Chicago, Illinois 60602
 6                                                    Tel.: (312) 214-7900
     By:     /s/ Jay Barnes
     Jason ‘Jay’ Barnes (admitted pro hac vice)       akeller@dicellolevitt.com
 7                                                    aprom@dicellolevitt.com
     An Truong (admitted pro hac vice)
     Eric Johnson (admitted pro hac vice)             scruz@dicellolevitt.com
 8
     112 Madison Avenue, 7th Floor
 9   New York, NY 10016
     Tel.: (212) 784-6400
10   Fax: (212) 213-5949
     jaybarnes@simmonsfirm.com
11   atruong@simmonsfirm.com
     ejohnson@simmonsfirm.com
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


     PLS. ADMIN. MOT. TO CONSIDER                 2              CASE NO. 4:20-CV-05146-YGR-SVK
     Case 4:20-cv-05146-YGR           Document 759         Filed 07/11/22      Page 4 of 5



 1                 ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)
 2          I, Sharon Cruz, attest that concurrence in the filing of this document has been obtained from
 3   the other signatories. I declare under penalty of perjury that the foregoing is true and correct.
 4
     Dated: July 11, 2022                                  /s/ Sharon Cruz
 5
                                                           Sharon Cruz
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


     ATTESTATION                                                    CASE NO. 4:20-CV-05146-YGR-SVK
     Case 4:20-cv-05146-YGR          Document 759        Filed 07/11/22      Page 5 of 5



 1                                   CERTIFICATE OF SERVICE
 2          I, Sharon D. Cruz, hereby certify that on July 11, 2022, I electronically filed the foregoing
 3   document with the Clerk of the United States District Court for the Northern District of California
 4   using the CM/ECF system, which will send electronic notification to all counsel of record. I also
 5   caused a copy of the under seal filings to be delivered to counsel for Defendant Google LLC via
 6   electronic mail.
 7
     Dated: July 11, 2022                                 /s/ Sharon Cruz
 8
                                                          Sharon D. Cruz
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


     CERTIFICATE OF SERVICE                                       CASE NO. 4:20-CV-05146-YGR-SVK
